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                              UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON
                                         MEDFORD DIVISION


    RUSSELL H. TODD, in his capacity as                                                              1:15-cv-1323
                                                                                           Case No. ___________
    personal representative for the Estate of
    Douglas H. Todd,
                                                                   COMPLAINT
                Plaintiff,                                         Breach of Contract (28 U.S.C. §1332)
                                                                   DEMAND FOR JURY TRIAL
    v.

    METLIFE INSURANCE COMPANY USA, a
    Delaware corporation,

                Defendant.



           On behalf of the Estate of Douglas H. Todd (“Estate”), and in his capacity as

    personal representative therefor, Plaintiff Russell H. Todd (“Plaintiff”) alleges as follows:

                                      GENERAL ALLEGATIONS

                                                          1.

           At all material times, Douglas H. Todd (“Decedent”) was a citizen of the state of

    Oregon and domiciled in Klamath Falls, Oregon.


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                                                         2.

           Defendant MetLife Insurance Company USA (“Defendant”) is a corporation duly

    organized, existing, and domiciled in the state of Delaware. Its principal place of

    business is located in Charlotte, North Carolina.

                                                         3.

           Defendant is a successor-in-interest to MetLife Insurance Company of

    Connecticut (“MICC”), which at all material times was a corporation duly organized,

    existing, and domiciled in the state of Connecticut. MICC’s principal place of business

    was located in Hartford, Connecticut.

                                                         4.

           Travelers Insurance Company (“Travelers”) originally provided Decedent with the

    life insurance policy at issue in this case. Travelers subsequently merged with or was

    acquired by MICC. Defendant has assumed MICC’s contractual obligations to

    Decedent.

                                                         5.

           Decedent died from cancer on January 13, 2015, in Klamath Falls, Oregon.

                                                         6.

           This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332

    because it is a civil action between citizens of different states in which the amount in

    controversy exceeds $75,000, exclusive of interests and costs.

                                                         7.

           Venue in this Court is proper as Oregon has one District.



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                                                          8.

          Divisional venue is only proper in the Medford Division because Decedent was

    domiciled in Klamath County and a substantial portion of the events in this case took

    place in Klamath County.

                                      FIRST CAUSE OF ACTION

                                                 COUNT ONE

              (Breach of Contract – Failure to Comply with Notice Provisions)

                                                          9.

          Plaintiff reincorporates and realleges paragraphs 1-8 as though fully set forth

    herein.

                                                         10.

          Years ago, Decedent obtained policy number 7400655 (the “Policy”), which

    provided $2,000,000 in life insurance coverage from Travelers. As previously stated,

    Travelers subsequently merged with or was acquired by MICC.

                                                         11.

          Decedent paid premiums on the Policy to MICC on a regular basis up until he

    was diagnosed with cancer. At that time, Decedent was unable to conduct his normal

    business affairs because of his illness and/or treatment.

                                                         12.

          During his illness, Decedent failed to make a payment on the Policy in or about

    October of 2014. At that time, MICC told Decedent that the Policy had lapsed effective

    October 18, 2013, because Decedent had failed to make a payment on the Policy in or

    about August of 2013. Decedent, due to his illness, had stopped going to his office on a

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    regular basis and did not have any recollection of receiving a notice of past due

    payment or potential lapse.

                                                          13.

             MICC failed to provide any notice of the Policy lapse to either the agent of record

    on the Policy, George Merhoff, or to Mr. Merhoff’s employer, Merz Agency.

                                                          14.

             Upon information and belief, Plaintiff believes that MICC failed to comply with the

    Policy’s provisions regarding notice of potential or actual lapse to Decedent and/or

    Decedent’s agent of record.1

                                                          15.

             MICC’s failure to provide proper notice of potential or actual lapse was a breach

    of the Policy. As successor in interest to MICC, Defendant is liable for MICC’s breach

    of the Policy.

                                                          16.

             Because of MICC and Defendant’s breach of the Policy’s notice provisions,

    Plaintiff demands reinstatement of the Policy retroactive to October 18, 2013.

                                                          17.

             Given the subsequent death of Decedent, Defendant is liable for $2,000,000 in

    life insurance coverage under the Policy, plus additional damages to be determined at

    trial.

    ///


    1
     Plaintiff reserves the right to amend this Complaint to add additional claims or to modify
    existing claims once Defendant provides Plaintiff with a copy of the Policy.
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                                       FIRST CAUSE OF ACTION

                                                 COUNT TWO

                    (Breach of Contract – Failure to Provide Copy of Policy)

                                                          18.

          Plaintiff reincorporates and realleges paragraphs 9-17 as though fully set forth

    herein.

                                                          19.

          Upon information and belief, the Policy requires that a copy of the Policy be

    provided to Decedent or to Decedent’s authorized representative upon request. Plaintiff

    is an authorized representative of Decedent. Plaintiff has repeatedly requested a copy

    of the Policy from MICC and from Defendant.

                                                          20.

              MICC and Defendant have refused to provide to Plaintiff a copy of the Policy.

                                                          21.

          By refusing to provide Plaintiff with a copy of the Policy and thereby breaching

    the Policy, Defendant has damaged Plaintiff in an amount to be determined at trial.

                                    SECOND CAUSE OF ACTION

                                       (Violation of ORS 746.640)

                                                          22.

          Plaintiff reincorporates and realleges paragraphs 18-21 as though fully set forth

    herein.

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                                                         23.

           ORS 746.640 requires an insurer to produce to an individual a copy of any

    recorded personal information pertaining to the individual that is reasonably described

    by the individual and reasonably locatable and retrievable by the insurer. A life

    insurance policy is recorded personal information within the meaning of the statute.

                                                         24.

           Prior to his death, Decedent made a written request to MICC for a copy of the

    Policy. The written request reasonably described the Policy, and the Policy was

    reasonably locatable and retrievable by MICC and/or Defendant.

                                                         25.

           MICC and/or Defendant failed to provide Decedent with a copy of the Policy

    notwithstanding their statutory obligation to do so.

                                                         26.

           ORS 746.680(1) entitles Plaintiff, as personal representative of Decedent’s

    estate, to “appropriate equitable relief.” At a minimum, such relief requires Defendant to

    provide Plaintiff with a copy of the Policy.

                                                         27.

           Plaintiff is entitled to his costs and attorney fees incurred in bringing this action

    pursuant to ORS 746.680(3).

           WHEREFORE, Plaintiff prays for relief as follows:

           1.      On Plaintiff’s First Claim for Relief, Count One, for a judgment against

    Defendant that reinstates the Policy retroactive to October 18, 2013, and awards



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    Plaintiff the principal sum of $2,000,000, plus additional damages to be proven at trial,

    plus Plaintiff’s costs and disbursements incurred herein;

            2.       On Plaintiff’s First Claim for Relief, Count Two, for a judgment against

    Defendant that awards Plaintiff damages in an amount to be determined at trial, plus

    Plaintiff’s costs and disbursements incurred herein;

            3.       On Plaintiff’s Second Claim for Relief, for a judgment against Defendant

    stating that Defendant violated ORS 746.640;

            4.       For an order requiring Defendant to deliver a certified copy of the Policy

    and awarding Plaintiff his attorney fees pursuant to ORS 746.680(3); and

            5.       Such further relief that the Court may deem just and equitable.

            DATED this 16th day of July, 2015.

                                       SUSSMAN SHANK LLP


                                       By /s/ David D. VanSpeybroeck
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    *23019-002/RUSSELL TODD PR ESTATE OF DOUGLAS TODD COMPLAINT V METLIFE RE BREACH OF CONTRACT (02143233);4




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